
82 So.3d 1210 (2012)
Troy D. PIPKIN, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-5771.
District Court of Appeal of Florida, First District.
March 22, 2012.
Troy D. Pipkin, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Brooke Poland, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the order denying motions for post-conviction relief rendered on or about June 30, 2011, in Columbia County Circuit Court case number 1999-974-CF, is granted. Upon issuance of mandate, a copy of the opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal.
PADOVANO, LEWIS, and WETHERELL, JJ., concur.
